September 11, 2020

Via ECF

Honorable Jesse M. Furman
United States District Judge
United States District Court
Southern District of New York
40 Centre Street, Room 2202
New York, New York 10007

Re:    New York v. Wolf, 20 Civ. 1127, and Lewis-McCoy v. Wolf, 20 Civ. 1142


Dear Judge Furman:

Pursuant to the Court’s July 29, 2020 order, ECF No. 92, 1 and in response to the publicly filed
version of Defendants’ September 4, 2020 report, ECF No. 113 (“Defs.’ Report”), Plaintiffs
write jointly to inform the Court “whether they have reason to believe that Defendants made
inaccurate or misleading statements beyond those identified in the report.” ECF No. 92 at 6. In
short, the report’s glaring deficiencies confirm that Plaintiffs do have such reason.

As Plaintiffs have explained, Defendants’ extensive redactions to the report prevent Plaintiffs
from fully assessing its content. 2 See generally ECF No. 114. Yet the unredacted portions of the
report alone demonstrate that Defendants continue to evade a full and accurate accounting of
their misrepresentations to Plaintiffs and this Court. The central shortcoming of Defendants’
report is that it fails or refuses to deal with the fundamental problem here: DHS implemented an
extremely consequential policy change that affected the lives of millions of people, harmed New
York’s economy, injured small businesses, and threatened national security, and there’s no
evidence at all that the stated reason for that decision was either remotely true (it wasn’t) or that
Defendants even believed it was true at the time of the decision and this months-long lawsuit. At
some point in this litigation, Defendants’ counsel came to the belated view that they could no
longer defend an indefensible and unlawful policy; but the report does essentially nothing to
explain why it took more than half a year — after considerable investment of resources by
Plaintiffs and the Court, and considerable pain to ordinary New Yorkers — to come to that view.
Even a cursory review of the Administrative Record would have made plain the obvious factual
and legal invalidity of the ban. 3


1
  All docket references are to New York v. Wolf, No. 20-cv-1127, unless otherwise indicated.
2
  Accordingly, Plaintiffs respectfully seek leave to supplement this response should the Court
deny Defendants’ pending motion for a protective order in whole or in part.
3
  Because Defendants’ report does not meaningfully account for their inaccurate and misleading
statements in this litigation, the Court should either conduct a further inquiry of its own or permit
limited discovery by the Plaintiffs (see ECF No. 91 at 2), to determine how an agency decision
that Defendants now admit was illegal came to be implemented and defended for so long.
First, Defendants fail to grapple with the fact that the Administrative Record repeatedly and
consistently undermines their prior assertions that DMV information is necessary for TTP
vetting, and that New York’s Green Light Law uniquely prevents CBP from accessing relevant
DMV information. According to Defendants, “CBP did not originally address the fact that
several state (and territories) did not provide to Nlets certain DMV information . . . because CBP
was simply not aware of that until in response to Plaintiffs’ memorandum in mid-July it
performed additional tests beyond what it had previously performed.” Defs.’ Report at 3. The
report thus indicates that “[Plaintiffs’] arguments prompted the Government to inquire further
with DHS and CBP,” id. at 14, by identifying “factual and analytical gaps in the Government’s
submission,” id. at 16–17. Plaintiffs’ arguments, however, simply referred to the conclusions of
DHS’s own operational assessment, in an Administrative Record fewer than 80 pages in length,
which on their face contradict Defendants’ position. See Pls.’ Mem. Summ. J. (ECF No. 79) at
23–28. 4 The report’s assertion that Defendants were “simply not aware” of these fundamental
discrepancies until Plaintiffs cited back to Defendants their own Administrative Record is
implausible, and, if true, raises more troubling questions about Defendants’ diligence in
implementing the ban in the first place.

While Defendants fail to address statements in the Administrative Record that should have
alerted them to the falsity of their assertions, they cite to other, extra-record evidence as the basis
for their continued failure to realize that jurisdictions other than New York had similar
restrictions on DMV data. The report explains that CBP’s Nlets representative “ran test queries
against all other states” to determine whether New York’s restrictions were unique. Defs.’
Report at 11. Because the representative queried the wrong information, however, those queries
failed to show that driver history information was unavailable from jurisdictions other than New
York. Id. Defendants do not disclose whether these test queries were performed prior to the
TTP Decision or formed any part of that decision, but indicate they were performed as part of
“due diligence” in February 2020. See id. at 11, 2 n.4. Putting aside whether documentation of
those test queries should have been included in the Administrative Record, those tests do not
explain how Defendants failed to realize that the Administrative Record extensively undermined



4
  For example, during DHS’s operational assessment of the effect of New York’s Green Light
Law, each subcomponent agency that addressed whether other states had restrictions similar to
those in New York reported in the affirmative that multiple other states or territories had similar
restrictions. See, e.g., DHSGLL018 (listing 10 states or territories that are “[n]ot sharing DMV
information with Nlets,” and further stating, “[s]ome states do not participate in Nlets”);
DHSGLL027 (listing nine states with DMV data restrictions); DHSGLL029 (reporting that
Illinois, Puerto Rico, and the Virgin Islands do not share driver history, and several additional
states do not share driver’s license photos); DHSGLL032 (listing five states other than New
York “provide varying degrees of more limited or incomplete access to DMV information to
DHS Components”); DHSGLL074 (noting CBP lacked access to DMV database information
from California and Connecticut prior to the effective date of New York’s Green Light Law). In
addition, nowhere during that operational assessment did DHS officials indicate that any
criminal history data contained in New York’s DMV databases was in fact used much less
necessary for vetting TTP applicants. See generally DHSGLL006–007 (CBP Operational
Assessment), -009–13 (Morgan Memo), -031–041 (Policy Memo).


                                                   2
“the rationale” for the TTP Decision and for Defendants’ “defense” of that decision. See Defs.’
July 23rd Ltr. (ECF No. 89) at 1 (emphasis added).

Defense counsel’s purported efforts at due diligence also fail to address statements in the
Administrative Record that should have alerted them to the falsity of their representations to this
Court. In justifying their continued assertion that other jurisdictions did not restrict DMV data
relevant to TTP vetting, counsel for Defendants rely on a statement in John Wagner’s April
declaration in DiMaio v. Wolf, No. 20-cv-445 (D.D.C.) that “New York is the only state that has
terminated CBP’s access to driver license and vehicle data via Nlets,” and similar statements in
Pete Acosta’s June declaration in this case. Defs.’ Report at 12–13. Yet, as Plaintiffs explained
in support of their cross-motion for partial summary judgment, these and other statements relied
upon by Defendants do not contradict evidence in the Administrative Record that other
jurisdictions also restrict DMV data. See Pls.’ Mem. Summ. J. (ECF No. 79) at 25 & n.15. At a
minimum, therefore, defense counsel’s explanation fails to demonstrate proper due diligence,
and raises further questions about their continued candor to this Court.

In addition, neither Defendants’ explanation of their or their counsel’s misstatements regarding
DMV data restrictions in other jurisdictions addresses Plaintiffs’ argument — apparent since the
filing of their complaints on February 10, 2020 — that the TTP Decision was irrational in light
of CBP’s continued processing of TTP applications from residents of foreign countries for which
the agency lacks access to contemporaneous DMV information. See Lewis-McCoy Complaint
(Lewis-McCoy ECF No. 1) ¶ 60 (“Under the New York Ban, a U.S. citizen currently residing in
New York could become eligible to apply by moving abroad and establishing residence in any
foreign in country in the world, regardless of CBP’s ability to obtain intelligence regarding
persons residing in the country. Similarly, under the ban, citizens of Argentina or Germany or
India are eligible to apply for Global Entry if they reside in their home country, but would lose
that eligibility if they moved to New York.”). Even if Defendants and their counsel mistakenly
believed that the New York DMV data restrictions were unique among U.S. states and territories,
they were thus on notice since February 2020 about the way in which processing of applications
from foreign jurisdictions likely undermined the assertion that DMV data is necessary and
consistently available for vetting TTP applicants. Yet Defendants’ report entirely fails to address
this issue, and does not attempt to suggest that Defendants or their counsel made any attempts to
verify the accuracy of their statements in light of that issue.

Equally implausible is Defendants’ contention that they and their counsel failed to realize, in
issuing and defending a ban predicated on the necessity of DMV information for TTP vetting,
that the agency does not consider such information necessary for vetting. Defendants make the
startling revelation that “TTP does not, as a matter of policy, require that vetting officers initiate
manual queries for every applicant, but as a matter of practice, a vetting officer may, at their
discretion, initiate a manual query of available DMV records through Nlets. . . . [W]hether or not
such a manual query is conducted is based upon the TTP vetting officer’s risk assessment of the
TTP applicant.” Defs.’ Report at 6; accord Acosta Decl. (ECF No. 113-1) ¶¶ 20–21.
Defendants aver that Pete Acosta, TTP Director, mistakenly believed at the time of his June 19
declaration that such DMV queries were performed for all TTP applicants. Acosta Decl. ¶ 24.
Yet this is no small oversight: The entire basis for the TTP Decision was CBP’s purported need
for DMV information to vet TTP applicants, which need ostensibly drove that decision. That the



                                                  3
TTP Director failed to understand the program’s own “policy” of not requiring officers to query
DMV information, but leaving that option to the discretion of individual officers, defies logic—
particularly where the agency conducted an operational assessment that disclosed no such need,
and where the agency’s decision was subject to months of litigation prior to Director Acosta’s
June declaration.

Even in explaining their misstatements regarding the role of DMV data in TTP vetting,
Defendants omit key details. Despite Director Acosta’s revelation, the report gives no indication
as to how frequently or on what basis TTP vetting officers query Nlets DMV data; where the
above “policy” regarding such queries is memorialized; how that policy was eventually disclosed
to Director Acosta; why that policy was only disclosed to the TTP Director after months of
enforcing and defending an agency decision for which the policy formed the purported basis, but
which it fatally undermined; whether that policy was disclosed to other DHS officials prior to the
TTP Decision; and why that policy was not included in the Administrative Record.

Strikingly, in a transparent attempt to lay the groundwork for future agency action baselessly
tying TTP eligibility to DMV data sharing, Defendants repeatedly resist the conclusion —
apparent in the Administrative Record, and in Director Acosta’s new revelation — that such data
is unnecessary for TTP vetting. See Defs.’ Report at 14 (“[I]t must be made clear that such
information remains important to TTP vetting.”); id. at 16 (stating that while “[t]he new
information discussed above substantially undercut the factual underpinnings of [Defendants’
arguments in their motions to dismiss and for summary judgment,] . . . many of the arguments
would retain validity in full context”). Defendants’ continued refusal to fully acknowledge that
their position is without factual basis confirms that the report does not comprehensively address
their misstatements.
                                                 ***
For the foregoing reasons, Plaintiffs respectfully submit that Defendants’ September 4 report
inadequately accounts for Defendants’ misconduct in this litigation and supports the imposition
of sanctions, which remedy Plaintiffs will address more fully in their forthcoming motion for
attorney’s fees and costs. 5 We thank the Court for its consideration of this letter and would be
happy to address any questions or concerns the Court may have.


Respectfully submitted,

NEW YORK CIVIL LIBERTIES UNION FOUNDATION

By: /s/ Jordan Laris Cohen


5
  Per the Court’s order, Plaintiffs have limited this response to whether they believe Defendants
made inaccurate or misleading statements beyond those identified in the report. We have not
attempted to catalog in full our concerns with other aspects of the report, including that in many
instances it presents as advocacy rather than as a neutral statement of facts. See, e.g., Defs.’
Report at 11 (inaccurately stating that “New York’s Green Light Law abruptly and
conspicuously” terminated access to New York DMV information — the law took effect a full
six months after it was enacted, which is hardly abrupt).


                                                 4
Jordan Laris Cohen
Antony P.F. Gemmell
Molly K. Biklen
Jessica Perry
Christopher T. Dunn
125 Broad Street, 19th Floor
New York, NY 10004
212-607-3300
agemmell@nyclu.org

Attorneys for Plaintiffs in 20-CV-1142


LETITIA JAMES
Attorney General of the State of New York

By: /s/ Matthew Colangelo
Matthew Colangelo, Chief Counsel for Federal Initiatives
Elena Goldstein, Deputy Chief, Civil Rights Bureau
Daniela L. Nogueira, Assistant Attorney General
Office of the New York State Attorney General
28 Liberty Street
New York, NY 10005
Phone: (212) 416-6057
matthew.colangelo@ag.ny.gov

Attorneys for Plaintiff in 20-CV-1127




                                              5
